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                                                                 NON-CONFIDENTIAL VERSION



          IN THE UNITED STATES COURT OF INTERNATIONAL TRADE



 HYUNDAI STEEL COMPANY,

                        Plaintiff,

                  and
                                                       Before: Hon. Claire R. Kelly,
 GOVERNMENT OF THE REPUBLIC OF                                Judge
 KOREA,

                        Plaintiff-Intervenor,          Court No. 23-00211

                   V.
                                                      NON- CONFIDENTIAL VERSION
 UNITED STATES,
                                                      Business Proprietary Information
                        Defendant,
                                                      Removed from Pages: 3, 5, 12, 14-19
                  and

 NUCOR CORPORATION,

                        Defendant-Intervenor.



              DEFENDANT-INTERVENOR NUC OR CORPORATION
        RESPONSE TO MOTION FOR JUDGMENT ON THE AGENCY RECORD

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I.     INTRODUCTION

       On behalf of Defendant-Intervenor Nucor Corporation ("Nucor"), we hereby submit the

following response to the March 12,2024 brief in support of the motion for judgment on the agency

record filed by Plaintiff Hyundai Steel Company ("Hyundai Steel" or "Plaintiff"), Pl.'s Br. in

Supp. of Pl.'s Mot. for J. on the Agency R. (Mar. 12, 2024), ECF No. 31 ("Pl. Br."), and the April

2, 2024 brief in support of the motion for judgment on the agency record filed by the Government

of Korea ("GOK" or "Plaintiff-Intervenor"), P1.-Intervenor's Br. in Supp. of Pl.'s Mot. for J. on

the Agency R. (Apr. 2, 2024), ECF No. 32 ("Plaintiff-Intervenor Br."). For the reasons discussed

in this brief, in conjunction with the arguments presented by Defendant United States, Defendant-

Intervenor respectfully requests that this Court reject the arguments raised by Plaintiff and

Plaintiff-Intervenor, and affirm aspects of the Final Results of the U.S. Department of Commerce

("Commerce") in the 2021 administrative review of the countervailing duty ("CVD") order on

Certain Cut- to-Length Carbon Quality Steel Plate from the &public cf Korea (" CIL from

Korea").

       As directed by this Court, Order (Jan. 12, 2024), ECF No. 27, Defendant-Intervenor does

not intend to repeat arguments raised by Defendant in its June 3, 2024 brief with respect to

Plaintiff's and Plaintiff-Intervenor's arguments on Commerce's decision not to accept untimely

filed electricity cost data and Commerce's determination that the electricity for less than adequate

remuneration ("LTAR") program is de facto specific. Def.'s Resp. to Pls.' Mots. for J. on the

Agency R. (June 3, 2024), ECF No. 35 ("Def. Br."). Nucor concurs with and adopts by reference

the arguments made by Defendant with regard to the reasonableness of Commerce's decision not

to accept untimely filed electricity cost data and Commerce's determination that the electricity for

LTAR program is de facto specific.




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II.      RULE 56.2 STATEMENT

         A.     Administrative Decision Under Review

         The administrative determination challenged in this appeal is Commerce's Final Results in


the 2021 administrative review of the CVD order on CIL from Korea.            Issues and Decision


Memorandum accompanying Certain Cut- to-Length Carbon- Quality Steel Plate from the


&public cf Korea, 88 Fed. Reg. 61,509 (Dep't Commerce Sept. 7, 2023) (final results and

rescission, in part, of countervailing duty admin. rev.; 2021), P.R. 222 ("IDM"). 1 See also Certain


Cut- to-Length Carbon- Quality Steel Platefrom the &public cfKorea, 88 Fed. Reg. 61,509 (Dep't


Commerce Sept. 7, 2023) (final results and rescission, in part, of countervailing duty admin. rev.;


2021), P.R. 225 ("Final Results").


         B.     Issues Presented

                1.     Whether Commerce Properly Refused to Accept the GOK's Untimely
                        Submission of KEPCO's 2021 Cost Data?

         Yes. Commerce acted within its discretion by properly refusing to accept the GOK's


untimely submission of Korean Electric Power Company's ("KEPCO") 2021 cost data. In an


administrative review that Commerce initiated in 2022 and published preliminary results in March


2023, Commerce provided the GOK with ample opportunities to submit KEPCO's cost data from

calendar year 2021. Certain Cut- to-Length Carbon- Quality Steel Plate From the &public cf


Korea, 88 Fed. Reg. 13,433 (Dep't Commerce Mar. 3, 2023) (prelim. results and prelim. intent to


rescind, in part, the countervailing duty admin. rev.; 2021), P.R. 186 ("Preliminary Results"). Not


only did the GOK refuse to offer to provide an unaudited version of the data until after the




1        Documents on the public record of the underlying administrative review are identified here
as "P.R.," followed by the number assigned to the relevant document in the administrative record
index filed with the Court on December 13, 2023. Documents in the confidential administrative
record are identified by name, followed by "C.R." and the corresponding record number.


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publication of the preliminary results in this review (the "Preliminary Results"), the GOK also

refused to even provide an estimate of when the data would become available, even though this

data should have been incorporated into its audited financial statements for calendar year 2021. In

accordance with its long-standing practice of rejecting new factual information after publishing

the preliminary results, Commerce properly did not accept the GOK's untimely submission of

KEPCO's 2021 cost data and relied on the facts otherwise available. Memorandum from David

Lindgren,   Program   Manager,    AD/CVD      Operations,    Off.   III   to    Interested   Parties,   re:

Countervailing Duty Administrative Review cf Certain Cut- to-Length Carbon- Quality Steel Plate

from Korea: Communication with Counsel (
                                       May 10, 2023), P.R. 194 ("Communication with

Counsel Memo").

               2.     Whether Commerce Correctly Found That the GOK's Provision of
                      Electricity for LTAR was De Facto Specific Given that the Steel
                      Industry Consumed a Disproportionate Amount of the Subsidy?

       Yes. Commerce correctly found that the GOK's provision of electricity for LTAR was de

facto specific and conferred a countervailable benefit. In an economy with 19 diversified economic

industry sectors, Commerce found that the steel industry was the [ ] largest consumer of

electricity in Korea. IDM at 15-16. The top 10 industries consuming electricity in the same

industrial class represented [ ] of total consumption, and the steel industry represented

[     ] of that figure.      Id.; Letter from Yoon & Yang LLP, to Sec'y Commerce, re:

Administrative Review cf Certain Cut- to-Length Carbon- Quality Steel Plate from Korea:

Response to the Initial Questionnaire (
                                      June 27, 2022), C.R. 29, P.R. 60 at 35-36 ("GOK

Questionnaire Response"). Commerce properly found that the steel industry was among the top

four electricity consuming industries, which consumed more than [ ] (
                                                                    i.e., a disproportionate

amount) of the subsidized electricity under this tariff category. IDM at 15-16. Thus, the GOK's




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provision of electricity for LTAR is plainly defacto specific and Commerce's path may reasonably


be discerned from its final results.


III.    STATEMENT OF FACTS

        A.      Introduction

       Commerce initiated an administrative review of the countervailing duty order on CTL Plate


from Korea covering the 2021 period of review on April 12, 2022 and selected Hyundai Steel as

the mandatory respondent. Initiation cf Antidumping and Countervailing Duty Administrative


Reviews, 87 Fed. Reg. 21,619 (Dep't Commerce Apr. 12, 2022), P.R. 13; Letter from Stephanie


Berger, Intl Trade Compliance Analyst, Off. III, AD/CVD Operations, through Peter Zukowski,


Program Manager, Off. III, AD/CVD Operations, to Erin Begnal, Dir. Off III, AD/ CVD

Operations, re: Administrative Review cf the Countervailing Duty Order cf Certain Cut- to-Length


Carbon- Quality Steel Platefrom the Republic cfKorea: Respondent Selection (
                                                                           May 2, 2022), C.R.

5, P.R. 21. Commerce evaluated the provision of electricity for LTAR subsidy program, as the


agency had done for the administrative reviews covering the two prior periods of review, i. e., 2019


and 2020. Preliminary Results and accompanying Preliminary Decision Memorandum at 24-30,

P.R. 183 ("PDM"). See also Issues and Decision Memorandum accompanying Certain Cut- to-


Length Carbon- Quality Steel Plate From the Republic cfKorea, 87 Fed. Reg. 79 (Dep't Commerce

Jan. 3, 2022) (final results of countervailing duty admin. rev.; 2019) at 6; Issues and Decision


Memorandum accompanying Certain Cut- to-Length Carbon- Quality Steel Plate From the


&public cf Korea, 87 Fed. Reg. 53,728 (Dep't Commerce Sept. 1, 2022) (final results, and

rescission, in part, of countervailing duty admin. rev.; 2020) at 6. Consistent with its practice,


Commerce issued the initial questionnaire to the GOK on May 2, 2022. Letter from Peter


Zukowski, Program Manager, AD/CVD Operations, Off. III to Government of Korea, re:




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Administrative Review cf Certain Cut- to-Length Carbon- Quality Steel Plate from Korea:


Countervailing Duty Questionnaire (
                                  May 2, 2022) at 17-22, P.R. 22 ("Initial Questionnaire").


       B.      KEPCO Cost Data

      In the May 2, 2022 initial questionnaire to the GOK, Commerce requested standard


information regarding the provision of electricity for LTAR program. id. Commerce included its

usual request for the data necessary to evaluate the provision of electricity in Korea, including


KEPCO's cost data for 2021, without which Commerce is unable to verify the costs associated


with the generation, distribution, and sale of electricity in Korea to companies like Hyundai Steel


during the period of review. id. at 22.

      On June 27, 2022, the GOK responded to Commerce's initial questionnaire and claimed


that it was unable to provide the 2021 cost data because it was not yet completed but stated that

cost data is generally completed at the end of the succeeding year, i.e., the end of 2022. GOK


Questionnaire Response at 27, 32, 35, 45. The GOK provided KEPCO's 2020 cost data instead,


which was not contemporaneous with the POR. id. at 45 (citing Exhibit E-9 (C.R. 65)). Based on

its non- contemporaneous 2020 data, the GOK explained that "with regard to the supply of


electricity to general and industrial class consumers, the GOK notes that the revenue earned from

supplying electricity to these consumers was [                  ] to cover the costs and expenses


incurred." id. at 35.


      Commerce requested the 2021 data two additional times, on January 11, 2023 and January


31, 2023, and each time the GOK failed to provide the relevant data. See Letter from Peter

Zukowski, Program Manager, Off. III, Ad/CVD Duty Operations, Ern & Compliance, to


Hyundai Steel Company, re: Countervailing Duty Administrative Review cf Certain Cut- to-Length


Carbon- Quality Steel Plate from the &public cf Korea: Hyundai Steel Secon Stipplemental




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Questionnaire (
              Jan. 11, 2023) at 2, P.R. 159 ; Letter from Yoon & Yang LLC to Sec'y Commerce,


re: Administrative Review cf Certain Cut- to-Length Carbon- Quality Steel Plate from Korea:


Response to the Stipplemental Questionnaire (
                                            Jan. 30, 2023) at 2, C.R. 238, P.R. 170; Letter from


David Lindgren, Program Manager, Off. III to Government of Korea, re: Countervailing Duty


Administrative Review cf Certain Cut-to-Length Carbon- Quality Steel Plate from the &public cf

Korea: GOK Third Stipplemental Questionnaire (
                                             Jan. 31, 2023) at 1, P.R.                174 ("Third


Supplemental Questionnaire"). Letter from Yoon & Yang LLC to Sec'y Commerce, re:


Countervailing Administrative Review cf Certain Cut- to-Length Carbon- Quality Steel Plate from

the &public cf Korea: Response to the Stipplemental Questionnaire (
                                                                  Feb. 6, 2023) at 1-2, P.R.

175 ("GOK Third SQR").


      On February 6, 2023, when failing for the third time to provide KEPCO's cost data, the


GOK supplied instead KEPCO Audited Unconsolidated Financial Statements for the years ended

December 31, 2021 and 2020, with the independent auditor's report attached. GOK Third SQR at


Exhibit UFSKEPCO. KEPCO's Audited Unconsolidated Financial Statement covering the year

2022 is dated March 14, 2022—predating the issuance of the initial questionnaire and Commerce's


first request for KEPCO's cost data by two months, and predating the GOK's latest refusal to

supply KEPCO's cost data by almost an entire year. Id. In preparing KEPCO's Audited financial


statements, its auditors "obtained the Company's business plan and external data for major


unobservable inputs such as future sales volumes, unit sales price and cost of power purchase. . ."


among other financial indicators. Id. KEPCO's 2021 financial statements showed a loss for the


year of 5.6 trillion won compared to KEPCO ' s 1.9 trillion won profit for calendar year 2020. Id.


      On March 3, 2023, Commerce published its preliminary results—using facts otherwise


available due to the GOK' s repeated failure to provide KEPCO 2021 cost data—to calculate a net




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countervailable subsidy rate of 1.10% for Hyundai Steel. Preliminary Results, 88 Fed. Reg.

13,433; PDM at 4. Specifically, Commerce relied on "cost and sales data from KEPCO's 2021

unconsolidated financial statements" and "information contained in KEPCO's 20-F disclosure

form filed with the U.S. Securities and Exchange Commission (SEC)." PDM at 11.

      On March 14, 2023, shortly after Commerce issued the preliminary results, the GOK

contacted Commerce claiming that the 2021 cost data was " substantially complete" and available

to collect. Communication with Counsel Memo at Attachment 1. The GOK reiterated this request

for Commerce to collect the 2021 cost data on April 26, 2023. Letter from Yoon & Yang LLC to

Sec'y Commerce, re: Administrative Review cf Certain Cut-to-Length Carbon- Quality Steel Plate

from Korea: Request for Stipplemental Questionnaire (
                                                    Apr. 26, 2023), P.R. 190.

      Commerce declined to request the untimely 2021 cost data, explaining that Commerce had

requested the data several times throughout the review, had provided ample time for the GOK to

supply it, and that it was now too late in the proceeding to consider the data and provide an

opportunity for comment. Communication with Counsel Memo.

      On September 7, 2023, Commerce published its final results, continuing to rely on facts

available and assigning Hyundai a net countervailable subsidy rate of 1.08 percent. Final Results,

88 Fed. Reg. 61,509; IDM at 4.

       C.      Specificity

      Nucor adopts Defendant's detailed statement of facts concerning Commerce's review of the

provision for electricity for LTAR subsidy program and finding of specificity. Def. Br. at 3-10. To

the extent that additional facts not mentioned by the Defendant are relevant to Nucor's arguments,

they are discussed within the context of the arguments set forth in this brief      Nucor adopts

Defendant's detailed statement of facts. Id. To the extent that additional facts not mentioned by




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the Defendant are relevant to Nucor's arguments, they are discussed within the context of the


arguments set forth in this brief


IV.      STANDARD OF REVIEW

         This Court reviews Commerce's decisions in CVD proceedings to determine whether those


decisions are "unsupported by substantial evidence on the record, or otherwise not in accordance

with law . . . ." 19 U.S.C. § 1516a(b)(1)(B)(i). See also Fijitsu Gen. Ltd. v. United States, 88 F.3d


1034, 1038 (Fed. Cir. 1996). Substantial evidence is "such relevant evidence as a reasonable mind


might accept as adequate to support a conclusion." Universal Camera Coy. v. NLRB, 340 U.S.


474, 477 ( 1951) (citation omitted). It is "something less than the weight of the evidence, and the

possibility of drawing two inconsistent conclusions from the evidence does not prevent an


administrative agency's finding from being supported by substantial evidence." Consolo v. Fed.

Mar. Comm 'n, 383 U.S. 607, 620 ( 1966).      See also Dongtai Peak Honey Indus. Co. v. United


States, 38 CIT 334, 336, 971 F.Supp.2d 1234, 1239 (2014),       f'd, 777 F.3d 1343, 1349 (Fed. Cir.


2015).

         A plaintiff cannot ask the court to re-weigh the evidence on the record and decide the case


for Commerce. See Matsushita Elec. Indus. Co. y United States, 750 F.2d 927, 933 (Fed. Cir.

1984).   Factual findings by Commerce are afforded considerable deference.         See 1NS v. Elias-


Zacarias, 502 U.S. 478, 483-84 ( 1992) (stating that in fact- intensive situations, agency conclusions


should be reversed only if the record contains evidence "so compelling that no reasonable


factfinder" could reach the same conclusion). In addition, the court "uphold{s} a decision of less

than ideal clarity if the agency's path may reasonably be discerned." Motor Vehicle 11/ifrs. Ass 'n


v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 ( 1983) (citation omitted); Ceramica


Regiomontana, S.A. v. United States, 810 F.2d 1137, 1139 (Fed. Cir. 1987). As such, Commerce




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need only "articulate a satisfactory explanation for its action including a ' rational connection

between the facts found and the choice made." Motor Vehicle 11/ifrs. Ass 'n, 463 U.S. at 43 (citation

omitted).

       Moreover, in determining whether Commerce's decisions in CVD proceedings are

"unsupported by substantial evidence on the record, or otherwise not in accordance with law," this

Court reviews the agency's conduct under the abuse of discretion standard. See Dongtai Peak, 38

CIT at 336, 971 F.Supp.2d at 1239; Jiangsu Jiasheng Photovoltaic Tech. Co. v. United States, 38

CIT 1632, 1634-35, 28 F.Supp.3d 1317, 1323 (2014). Accordingly, the Court has recognized that

it "( 1) must consider whether { Commerce's} decision was based on a consideration of relevant

factors and whether there has been a clear error of judgment, and (2) analyze whether a rational

connection exists between { Commerce's} factfindings and its ultimate action." Consol. Fibers,

Inc. v. United States, 32 CIT 24, 35-36, 535 F.Supp.2d 1345, 1354 (2008).

V.     ARGUMENT

       A.      Commerce Properly Refused to Accept the GOK's Untimely Submission of
               KEPCO's 2021 Cost Data

       In its Preliminary Results, Commerce correctly rejected the GOK's untimely submission

of KEPCO's 2021 Cost Data. The GOK reported a significant change in its electricity tariff system

whereby beginning on January 2021, "tariffs may be adjusted for fluctuations in fuel costs on a

quarterly basis." PDM at 10 (citation omitted). As a result, "electricity tariffs are now somewhat

dynamic, based on quarterly fluctuations in fuel costs." id. (
                                                             citation omitted). Consistent with its

long-time practice in prior reviews of this and other orders, Commerce requested data, including

KEPCO's annual cost report, on the annual costs associated with generation, distribution, and sales

of electricity in Korea for 2021. Initial Questionnaire at 17-22. Commerce requested the 2021 data

three times, and each time the GOK failed to provide the relevant data, instead only providing cost



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data for 2020. GOK Questionnaire Response. The GOK also had an opportunity to submit the data

pursuant to the all other factual information deadline. Not only was the 2020 data not

contemporaneous with the period of review ("POR"), it also obviously did not reflect the changes

that apparently took effect in January 2021. Id. at 20. In its last request for the 2021 data, on

January 31, 2023, Commerce requested an estimate of when 2021 data would be ready and the

GOK failed to provide even that. See Third Supplemental Questionnaire; see also GOK Third

SQR. Only after months of delays and after assessing Commerce's Preliminary Results wherein

Commerce used KEPCO's SEC data as facts available did the GOK eventually offer to provide

the data on March 12, 2023. Letter from Morris, Manning & Martin, LLP to Sec'y Commerce, re:

Certain Cut- to-Length Carbon- Quality Steel Plate from the Republic cf Korea, Case No. C-580-

837: Hyundai Steel's Case Brief (
                                May 25, 2023) at 20, C.R. 266, P.R. 207. Again, cost data that

should have been prepared and audited in early 2022 was not even offered until the week after

receiving public notice of Commerce's Preliminary Results.

       It is important to note the context in which the GOK withheld KEPCO's cost data during

this administrative review period. It is undisputed that KEPCO prepared and submitted audited

financial statements, which included the cost of goods sold (
                                                            i.e., electricity generation costs) and

revenue (
        i.e., electricity sales), for the calendar year 2021 by March 14, 2022. GOK Second

Supplemental Response at 1-2 (Feb. 6, 2023) at Exhibit UFSKEPCO, P.R. 175. As a publicly

traded company, the electricity cost data that was used as the basis for its calendar year 2021

audited financial statements, and incorporated into those statements, should have been prepared

and verified if they formed the basis of KEPCO's costs and revenue. id. (
                                                                        noting that the auditors

"obtained the Company's business plan and external data for major unobservable inputs such as

future sales volumes, unit sales price and cost of power purchase. . ." among other financial




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indicators.) But in its initial questionnaire filed on June 27, 2022 (more than two months after its

complete audited financial statements were filed with the SEC), the GOK claimed that KEPCO's

2021 cost data was not ready to be submitted but asserted that data from 2020 showed that

electricity tariffs charged for the type of electricity that Hyundai Steel consumes covered costs by

114%. GOK Questionnaire Response at 35. That is, the GOK provided non- contemporaneous

information that attempted to show that the subsidized electricity program provided no benefit to

the steel industry based on KEPCO's cost recovery rates in 2020. But unlike calendar year 2020,

KEPCO experienced massive losses during calendar year 2021. GOK Second Supplemental

Response at 1-2 (Feb. 6, 2023) at Exhibit UFSKEPCO, P.R. 175. (KEPCO's 2021 financial

statements showed a loss for the year of 5.6 trillion won compared to KEPCO's 1.9 trillion won

pr(fit for calendar year 2020.) (emphasis added) With a 5.6 trillion won loss in 2021, the GOK

knew or should have known that the tariff rates charged during the POR were unlikely to cover its

costs for the categories of electricity that Hyundai consumed and should have been forthcoming

to Commerce in explaining the current situation in its initial questionnaire. Deacero S.A.P.I. de

C.V. v. United States, 996 F.3d 1283, 1298 (Fed. Cir. 2021) ("Deacero IV") (noting that facts

available is appropriate when it is " reasonable for Commerce to expect that more forthcoming

responses should have been made"). Indeed, just as the GOK provided irrelevant non-

contemporaneous 2020 data for KEPCO, the GOK could have easily described the contents of

unverified 2021 data in narrative form but chose not to do so. As a result, the GOK slow-rolled

the release of KEPCO's 2021 electricity cost data, claiming that it was still undergoing verification

nearly a year after it submitted audited financial statements to Korean and U.S. financial regulators.

GOK Second Supplemental Response at 1-2 (Feb. 6, 2023) at Exhibit UFSKEPCO, P.R. 175.




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       This context is important because had the GOK been successful in its delay, Commerce

would have relied on the 2020 data                       [         ] and Commerce would have

inappropriately found that the electricity for LTAR program provided no benefit to Hyundai Steel.

Given that the deadline to submit new factual information had already elapsed, the GOK would

have had no incentive, and in fact, have been under no obligation to submit KEPCO's updated

2021 cost data for Commerce to incorporate into the final results. And as Commerce explained in

its final results, the agency did not have sufficient bandwidth to examine new cost data from

KEPCO at this late stage in the proceeding. See IDM at 11. This is gamesmanship. To be clear,

it wasn't until Commerce issued unfavorable preliminary results that the GOK then suddenly

offered to submit an incomplete version of the cost data to attempt to try and obtain a better

outcome. And even then, the document was not fully complete. Commerce must be able to protect

the integrity of its proceedings, and Hyundai Steel's claim that Commerce should have issued

another supplemental questionnaire to allow the GOK to place new factual information on the

record evidence after the preliminary is not supported by the regulations, the statute, or the law.

       Commerce's refusal to accept the GOK's untimely submission of KEPCO's 2021 cost data

is wholly consistent with its long-established practice as affirmed by the courts. Commerce's

regulations are clear regarding the treatment of untimely filed data that is responsive to

questionnaires: "{t} he Secretary will reject any untimely filed or unsolicited questionnaire

response." 19 C.F.R. § 351.301(c)(1). Moreover, Commerce is not required to accept later filed

information after a respondent fails to cooperate with Commerce's requests. See Linyi Chengen

Imp. and Exp. Co. v. United States, 391 F.Supp.3d 1283, 1299-1300 (Ct. Intl Trade 2019); see

also Shandong Dongfang Bayley Wood Co. v. United States, 375 F.Supp.3d 1339, 1347-48 (Ct.

Intl Trade 2019). For example, in Linyi Chengen, the CIT upheld Commerce's decision to




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disregard information that was offered to cure deficient reporting in initial and supplemental

questionnaires. Linyi Chengen, 391 F.Supp.3d at 1299-1300. Commerce is rightfully especially

wary of new factual information submitted after the agency's publication of its Preliminary

Results, as was the case here. See, e.g., Tatung Co. v. United States, 18 CIT 1137, 1140 ( 1994)

(stating that "{ d}ue to stringent time deadlines and the significant limitations on Commerce's

resources, it is vital that accurate information be provided promptly to allow the agency sufficient

time for review") (citation omitted).

       "Strict enforcement of time limits and other requirements is neither arbitrary nor an abuse

of discretion when Commerce provides a reasoned explanation of its decision," which Commerce

provided here. ArcelorMittal USA LTC v. United States, 399 F.Supp.3d 1271, 1279 (Ct. Int'l Trade

2019) (citations omitted). Commerce explained that despite repeated requests for KEPCO's 2021

cost data, the GOK only offered to submit a " substantially complete," i.e., incomplete, version of

the data after the Preliminary Results. Communication with Counsel Memo at 1. The agency

determined not to solicit the incomplete data "because ( 1) the cost data were not fully audited; and

(2) insufficient time remains in the review to collect and fully analyze any final cost data." Id.

Commerce went on to explain in detail that "regardless of the current status of the 2021 KEPCO

cost data, we determined that there was not sufficient time in the instant review to collect and

analyze the data in question within the statutory deadlines { sic} ." Id. Specifically, Commerce

noted first, that it was analyzing and addressing the new subsidy allegation timely- filed by

Petitioners and second, that collecting and analyzing an entirely new data set would require

significant time and would delay the proceeding if subsequent questionnaires were required and

the requisite opportunities to comment were provided. id. Commerce reasonably concluded that

"the notification from the GOK' s counsel arrived too late in the segment and we therefore have




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declined to collect or consider the additional information for the final results." Id. Thus, Commerce

offered a thorough explanation for why it refused to accept the GOK' s untimely submission of

KEPCO ' s 2021 cost data, and its refusal is neither arbitrary nor an abuse of discretion.


         B.       The GOK's Provision of Electricity for LTAR Is Specific

         Commerce properly found that the provision of electricity for LTAR is de facto specific in

this administrative review. The statute provides that a subsidy is de facto specific when: (i) the

actual recipients are limited in number; (ii) and enterprise or industry is a predominant user of the

subsidy; (iii) an enterprise or industry receives a disproportionate amount of the subsidy; or (iv)

the subsidizing authority favors an enterprise or industry over others in granting the subsidy.

19 U.S.C. § 1677(5A)(D)(iii).          For the de facto specificity analysis, the term "enterprise or

industry" includes a group of enterprises or industries. /
                                                         d. § 1677(5A)(D). The statute also requires

Commerce to consider "the extent of diversification of economic activities within the jurisdiction

. . . ." Id. § 1677(5A)(D).

         In its final results, Commerce found that the provision of electricity for LTAR is de facto

specific      because "the    steel   industry   and three   other   industries    combined        consume   a

disproportionately large amount of electricity in Korea" and thus received a disproportionately

large amount of the subsidy. IDM at 16. By the GOK' s own admission, the steel industry in Korea

[

                                                                                              ].   See GOK

Questionnaire Response at 35-36. That is, in an economy with at least                    [     ] economic

industry sectors, Commerce found that the steel industry was the [ ] largest consumer of

electricity in Korea. See id. Commerce properly found that the steel industry was among the top four

electricity consuming industries (all of which were manufacturing industries), which consumed more



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than [ ] (
         i.e., a disproportionate amount) of the subsidized electricity under this tariff category.

As such, Commerce's path may reasonably be discerned from its final results.

         In arguing that Commerce's de facto specificity analysis was unlawful, the Plaintiff relies

heavily on the Court of International Trade's decision in Bethlehem Steel Corp. v. United States,

but that case is inapplicable here.    As the Federal Circuit has explained, " { d} eterminations of

disproportionality and dominant use are not subject to rigid rules, but rather must be determined

on a case-by- case basis taking into account all the facts and circumstances of a particular case."

AK Steel Coy. v. United States, 192 F.3d 1367, 1385 (Fed. Cir. 1999). The determination at issue

in Bethlehem Steel did not involve an adequacy of remuneration subsidy. Instead, it addressed a

"voluntary curtailment" program in which the GOK automatically provided identical price

discounts to general, educational, or industrial users that voluntarily agreed to curtail electricity

consumption by at least 20%. 2 Bethlehem Steel Coy. v. United States, 25 CIT 307, 319-20, 140

F.Supp.2d 1354, 1367 (2001). Here, in contrast, the issue is an LTAR subsidy in which the benefit

amounts are necessarily tied to the individual pricing and consumption patterns of individual

companies and the type of electricity consumed. Benefits will vary, for example, depending on

which industrial tariff classification applies to a certain enterprise or industry or what times of day

or times of year the enterprise or industry consumes electricity. See GOK Questionnaire Response

at Exhibit E-10. Indeed, that is why Commerce's benchmark analysis focuses on industrial tariff

rates and compares the rates to when Hyundai Steel actually consumes the electricity.




2      Nucor notes that the program in Bethlehem Steel is similar to the subsidy program reviewed
in this proceeding named the "Electricity Discounts under Trading of Demand Response
Resources Program," where Commerce routinely finds that the program is countervailable, and
the respondents do not challenge the specificity analysis there.


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       In this context, it is unreasonable to say that the consumption volumes of a beneficiary

industry or enterprise are necessarily or inherently greater than that of other industries or

enterprises. That is because consumption volumes are directly tied to prices paid — i.e., an industry

or enterprise benefitting from an LTAR subsidy is likely to consume more of the subsidized input

than it otherwise would in large part because it is being subsidized. Accepting the argument that

a determination of de facto specificity based on disproportionate or predominant use may not be

based on relative consumption volumes would effectively nullify those provisions for the purpose

of adequate remuneration programs.

       For the purpose of an adequate remuneration program in a highly diversified economy, the

fact that                                        [                  ] of industrial electricity

consumption is compelling evidence of disproportionate benefit. GOK Questionnaire Response at

35-36. There is also evidence on the record that certain individual steel producers alone benefitted

disproportionately from the provision of electricity for LTAR. In its initial questionnaire response,

the GOK provided a list of the top 100 industrial consumers of electricity by facility. Id. at Exhibit

E-11. While the GOK did not identify any companies on the list other than the respondents or the

industries in which they operate, the list shows that                      [         ] accounted

for         [       ] of total industrial electricity consumption during the POR. Id. According to

the Commerce's economic diversification memo, there were more than 400,000 manufacturing

establishments operating in Korea during the POR. Memorandum Stephanie Berger, Intl Trade

Compliance Analyst, AD/CVD Operations, Off. III to The File, re: Administrative Review cf the

Countervailing Duty Order cf Certain Cut- to-Length Carbon- Quality Steel Plate from Korea:

Placement cf Korea Economic Diverslication Memorandum on the Record (
                                                                    May 3, 2022) at 2,

P.R. 24.   That [                                        ] amounted to           [       ] of total




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industrial consumption in an economy of more than 400,000 manufacturing establishments is

additional evidence of disproportionate benefit.

       The Plaintiffs also suggest that it is unlawful for Commerce to base a disproportionality

finding on the combined consumption of a small group of industries or enterprises. Pl. Br. at 18-

19; Plaintiff-Intervenor Br. at 5-6. This argument is contrary to the plain language of the statute

and should be rejected.     The statute states explicitly that " any reference to an enterprise or

industry . . . includes a group of such enterprises or industries." 19 U.S.C. § 1677(5A)(D)

(emphasis added). The GOK does not explain how its argument that Commerce must base its de

facto specific analysis on the steel industry alone makes sense in light of this clear statutory

language.

       Plaintiffs accuse Commerce of arbitrary and capricious "gerrymandering to reach a desired

result" and argue that, even based on this purportedly "arbitrary grouping" of industries, the record

does not support a finding of disproportionality. Pl. Br. at 19-20. Neither argument is persuasive.

       First, there is nothing arbitrary or capricious about Commerce conclusion.          Commerce

found that four industries in a highly diversified economy is a small enough group to constitute a

relevant group of industries or enterprises within the meaning of the statute, and that [

             ] by such a small number of industries constitutes disproportionate use. IDM at 15-

16. These are both reasonable factual determinations that Commerce is required to make in

conducting its sequential specificity analysis. 19 C.F.R. § 351.502(a). See also id. § 351.502(b)

(explaining that Commerce's analysis of specificity based on a "group" of industries or enterprises

does not depend on "whether there are shared characteristics among the enterprises or

industries . . . ."). Under Plaintiff's reasoning, effectively any finding of disproportionate use by a

group of industries or enterprises would be arbitrary and capricious "gerrymandering."




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       Second, Plaintiff bases their arguments on total electricity consumption, rather than on

industrial electricity consumption.    They argue that, considering total consumption rather than

industrial consumption, the percentage used by the four industries is [ ] of all consumption.

Pl. Br. at 20. As Commerce has recently explained, "this program encompasses the provision of

industrial electricity for LTAR and our specificity analysis was based on disproportionate

consumption of industrial electricity by the steel industry and others." Issues and Decision

Memorandum accompanying Certain Carbon and Alloy Steel Cut- to-Length Plate from the

Republic cf Korea, 88 Fed. Reg. 86,318 (Dep't Commerce Dec. 13, 2023) (final results of

countervailing duty admin. rev.; 2021) at 25. There is also no basis to conclude that a

disproportionality finding requires use exceeding any specific threshold.            The fact that four

industries alone account for         [    ] of all electricity demand in Korea supports rather than

undermines Commerce's finding.

       Furthermore, Commerce's disproportionality finding has to be relative to something else.

On its face, Commerce's finding that the steel industry is the         [     ] consumer of electricity

in   Korea   relative   to    [    ]     other   Korean   industries   is   prima   facie    evidence   of

disproportionality. IDM at 15-16. That four of those 10 industries consume more than [ ] of

Korean industrial electricity is further evidence of disproportionate consumption.                  GOK

Questionnaire Response at 35-36.       Citing to the GOK's initial questionnaire listing the top ten

consumers of total electricity and industrial electricity, Commerce's finding of disproportionality

is reasonably discerned from the chart showing that the steel industry consumed [ ] more

electricity than the      [       ] industry, and between [ ]% and [ ]% more electricity than

the fifth through tenth largest industries in Korea. Id.; IDM at 15-16. By itself, the steel industry

consumes a disproportionate amount of subsidized electricity relative to                    other Korean




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manufacturing industries. By appropriately combining the top four industries and referencing the


[         ] on page 35 of its initial questionnaire response, Commerce demonstrates that no


other combination of industries comes close to the large manufacturing industries consuming


subsidized energy. See GOK Questionnaire Response at 35; see also IDM at 15.


       In its brief, Plaintiff also argues that electricity is broadly available and widely used such that

the subsidy cannot be specific. Pl. Br. at 16-17. But this line of argumentation seeks to paint the


provision of electricity as general infrastructure or a good/service, which the courts have rejected.


Commerce has found that the provision of electricity for LTAR, as well as other energy inputs, to be

countervailable, and thus specific, in numerous cases, including proceedings involving Korea. See,

e.g., Issues and Decision Memorandum accompanying Certain Hot-Rolled Steel Flat Products


from the Republic cf Korea, 89 Fed. Reg. 41,380 (Dep't Commerce May 13, 2024) (final results


of countervailing duty admin. rev.; 2021) at cmt. 4; Issues and Decision Memorandum

accompanying Certain Cold-Rolled Steel Flat Products from the Republic cf Korea, 89 Fed. Reg.


15,124 (Dep't Commerce Mar. 1, 2024) (final results of countervailing duty admin. rev.; 2021) at

cmt. 4; Issues and Decision Memorandum accompanying Certain Corrosion-Resistant Steel


Products from the Republic cf Korea, 89 Fed. Reg. 6,500 (Dep't Commerce Feb. 1, 2024) (final

results of countervailing duty admin. rev.; 2021) at cmt. 1; Issues and Decision Memorandum


accompanying Certain Carbon and Alloy Steel Cut- to-Length Plate from the &public cf Korea,


88 Fed. Reg. 86,318 (Dep't Commerce Dec. 13, 2023) (final results of countervailing duty admin.


rev.; 2021) at cmt. 1; Issues and Decision Memorandum accompanying Large Diameter Welded


Pipe from the Republic cf Korea, 88 Fed. Reg. 85,236 (Dep't Commerce Dec. 7, 2023) (final


results of countervailing duty admin. rev.; 2021) at cmt. 2. Commerce has also found the provision


of electricity for LTAR to be specific in proceedings involving other countries. See, e.g., Issues




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and Decision Memorandum accompanying Certain Steel Nails from Thailand, 87 Fed. Reg. 51,343


(Dep't Commerce Aug. 22, 2022) (final deter. of countervailing duty inv.) at cmt. 2; Issues and


Decision Memorandum accompanying Certain Aluminum Foil from the Sultanate cf Oman, 86


Fed. Reg. 52,888 (Dep't Commerce Sept. 23, 2021) (final deter. of countervailing duty inv.) at


cmt. 4; Issues and Decision Memorandum accompanying Multilayered Wood Flooring from the

Pecple's Republic cf China, 79 Fed. Reg. 45,178 (Dep't Commerce Aug. 4, 2014) (final deter. of


countervailing duty admin. rev.) at cmt. 3.


        Furthermore, the courts have sustained Commerce's findings that electricity and other energy

inputs have been found to be specific. See, e.g., Canadian Solar Inc. v. United States, Consol. Ct.

No. 19-00178, slip op. 22-49 at 5 (Ct. Int'l Trade May 19, 2022) (upholding Commerce's finding


that the subsidization of electricity for LTAR from the Government of China was specific);


Changzhou Trina Solar Energy Co. v. United States, 466 F.Supp.3d 1287, 1303 (Ct. Int'l Trade

2020) (sustaining Commerce's finding that the provision of electricity for LTAR is a specific


subsidy); Mosaic Co. v. United States, 589 F.Supp.3d 1298, 1309 (Ct. Int'l Trade 2022) (finding that

substantial evidence supports Commerce's determination that the provision of natural gas was de


facto specific).




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       Thus, the Court should sustain Commerce's final results determining that the GOK's


provision of electricity for LTAR to the "group of . . . industries" for which Hyundai Steel belongs


is de facto specific. 19 U.S.C. § 1677(5A)(D).



                                                      Respectfully submitted,



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       Pursuant to Chamber Procedure 2(B)(1), the undersigned certifies that this brief complies


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                                      /s/ Derick G. Holt
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                                      Nucor Corporation
                                      (Representative Of)


                                        June 24, 2024
                                           (Date)




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